4477 Woodson Rd, Room 200
St. Louis, MO 63134

(314) 428-2662 x 207
FAX (314) 428-2975

Adrian L. Dunn, Sr.
Bates County Jail

P.O. Box 60

Butler, Missouri 64730

RE: 2009 4501 000081 01

Dear Mr. Dunn:

I am the Fines, Penalties & Forfeitures officer for the Department of Homeland Security
here in St. Louis. My job is to monitor administrative forfeiture of property that has been
" seized by Officers and Agents of the department.

I will answer you petition as best I can, within the scope of my job. You will have to
contact the case agent for any other concerns you have. If you have retained a new
lawyer, please tell him or her that they are free to cali me at anytime.

In regards to the $41,000 and the Caprice, yes, there was probable cause for search and
seizure at that address. I have to know that because if we do not have probable cause to
seize an item, we violate your civil rights. It’s my responsibility to make sure that
doesn’t happen. Please note that these two items are referenced under the case number
above, and if you have further questions about them, please include the case number.

Your petition for these items was denied because the case went to the AUSA for
indictment. I cannot do anything at this point with those items until the AUSAs case
plays out. I will respond to your petition once that happens. In the meantime the money
is in a holding account and the Caprice is being stored in a safe place.

Ido not have any information about your Corvette at this time. | need to know the case
number it was seized under in order to locate it. Therefore, I really cannot accurately
address it with you. However, the scenario is probably the same. If you can get the
correct FP&F case number, I’d be happy to give you more information.

Case 4:16-cv-00493-BCW Document 1-2 Filed 05/23/16 Page 1of3
I really don’t believe that your rights have been violated regarding the seizure of your
property; our federal agents know the rules and in the years I have been doing this I have
not yet seen them fail in that procedure. I am not saying other things may not be right,
I’m only attesting that the seizure of the $41,000 and the Caprice were legally

accomplished.

Again, as soon as the AUSA is finished with the case, we will respond to your original
petition. I apologize for the length of time that is taking, but obviously you can see that I
respond as soon as possible to any letters sent to me; and I hope you realize I have
nothing else to do with the process.

Best of Luck,

Jaynie Zakibe
Fines, Penalties & Forfeitures Officer

Case 4:16-cv-00493-BCW Document 1-2 Filed 05/23/16 Page 2 of 3
PEE E puso iepyeg uti

O0C$ ASN LLVAINd WOd ALTIVNad
SSANISNG TVIDILIO

SE

: FELES OW ‘SINOT IS
007 HLINS TOU NOSGOOM, £74

won 201g qapiog
pur suto)sn5 ‘sp

